 Case 4:09-cr-00043-SPF Document 196-1 Filed in USDC ND/OK on 10/14/09 Page 1 of 8
                                                                              .-#' I
 Lindsey Se!1!!.S!!~                                                                       _
 From:       "Derrington, David (USAOKNt <David.Derrington@usdoj.gov>
 To:         <Lindsey@mindspring.com>
 Sent:
 Attach:     KTMKUL.pdf
 Subject:
             Thursday, October 08,20095:21 PM
             FW: OV4C-ltinera<Y Only For SPRINGER LINDSEY KENT 10/15109   Et..h -:c:t I
-----Original Message-----
From: Derrington, David (USAOKN)
Sent: Thursday, October 08,20095:19 PM
To: ~Linsdey@mindspring.com'
Subject: FW: OV4C-Itinerary Only For SPRINGER LINDSEY KENT 10/15/09

Disregard this one, you will have another one coming soon.

-----Original Message-----
From: Notification II [mailto:CWTAQUAMail14@carlsonwagonlit.com)
Sent: Thursday, October 08,20095:15 PM
To; LINDSEY@MINQSPRING.COM;          Derrington, David (USAOKN)
Subject; OV4C-Itinerary Only For SPRINGER LINDSEY KENT 10/15/09

 «KTMKUL.pdf»
This is an automated email notification. Please do not respond to this
email address.

**Did you know we can also book your hotels and rental cars? **




                                                                                   10/14/2009
                                                                                     ~ --0-

 Case 4:09-cr-00043-SPF Document 196-1 Filed in USDC ND/OK on 10/14/09 Page 2 of 8

                                                                                ~)
 Lindsey Spring!!:

 From:       "Derrington, David (USAOKN)" <David.Derrington@usdoj.gov>
 To:         <Lindsey@mindspring.com>
 Sent:       Tuesday, October 13, 2009 7:02 AM
 Attach:     KTMKUL.pdf
 Subject:    FW: OV4C-ltinerary Only For SPRINGER LINDSEY KENT 10/15/09

FYI - is was told that you should be at the gate an hour early to
confirm your seat thanks.
                                                                         E•.,..4f '5
David H. Derrington
Administrative Services Specialist
United States Attorney's Office
110 West 7th Street, Suite 300
Tulsa, Oklahoma 74119
P: (918) 382-2731
F: (918) 560-7949
David.Derril1zton@J.!sd~ov




-----Original Message-----
From: Notification II [mailto:CWTAQUAMai114@carlsonwagonlit.com]
Sent: Thursday, October 08,20095:22 PM
To: LINDSEY@MINDSfBlNG.COM;          Derrington, David (USAOKN)
Subject: OV4C-Itinerary Only For SPRINGER LINDSEY KENT 10/15/09

 «KTMKUL.pdi»
This is an automated email notification. Please do not respond to this
email address.

**Did you know we can also book your hotels and rental cars? **




                                                                                  10/14/2009
  Case 4:09-cr-00043-SPF Document 196-1 Filed in USDC ND/OK on 10/14/09 Page 3 of 8

 Lindsey

 From:
 To:
            s~#
             "Derrington, David (USAOKN)" <David.Derrington@usdoj.gov>
             "LindseySpringer"<Iindsey@mindspring.com>
                                                                                          i
 Cc:         "O'Reilly, Charles A. (TAX)" <CharlesAO'Reilly@usdoj.gov>; "Snoke, Ken (USAOKN)"
             <Ken. SnoKe@usdoj.gov>



 Sent:
HiSubject:
            Tuesday, October 13, 200910:31 AM
   Lindsey, RE: OV4C-ltinerary Only For SPRINGER LINDSEY KENT 10/15/09 ~   c:-K     k -t:l U
                                                                                           ,
I'm sorry but I have everything scheduled for airfare and hotel stay. If
you have any questions, please let us know.

David H. Derrington
Administrative Services Specialist
United States Attorney's Office
110 West 7th Street, Suite 300
Tulsa, Oklahoma 74119
P: (918) 382-2731
F: (918) 560-7949
DJ!YlchDerringto]1@usdoi.gQY




-----Original Message-----
From: Lindsey Springer [mailto:lindsey@mindspring.com]
Sent: Tuesday, October 13,2009 10:22 AM
To: Derrington, David (USAOKN)
Subject: Re: OV 4C-Itinerary Only For SPRINGER LINDSEY KENT 10/15/09

David, can you change my return flight to Saturday evening instead of
Friday
evening on the last flight out to tulsa through Dallas or wherever? I
am at
955-8225. thanks, Lindsey Springer
----- Original Message -----
From; "Derrington, David (USAOKN)" <David.J)erringgm@1lsdJ}j.gov>
To; <Lindsey@mindspring.cQffi>
Sent: Tuesday, October 13, 2009 7:02 AM
Subject: FW: OV4C-Itinerary Only For SPRINGER LINDSEY KENT 10/15/09


FYI - is was told that you should be at the gate an hour early to
confirm your seat thanks.

David H. Derrington
Administrative Services Specialist
United States Attorney's Office
110 West 7th Street, Suite 300
                                                                    If)
                                                                                            10/14/2009
  Case 4:09-cr-00043-SPF Document 196-1 Filed in USDC ND/OK on 10/14/09 Page 4 of 8

  Lindsey Springer
  From:       "O'Reilly. Charles A. (TAX)" <Charles.A.Q'Reilly@usdoj.gov>
                                                                                                     9
                                                                                                  -fI:
 To:          "Lindsey Springer" <Iindsey@mindspring.com>;     <Iaw@trsvlaw.com>
 Cc:          "Snoke, Ken (U8AOKN)" <Ken.Snoke@usdoj.gov>;         "Derrington, David (USAOKN)"
              <David.Derrington@usdoj.gov>;    "Hall, Kathie (USAOKN)" <Kathie.Hall@usdolgov>
 Sent:        Tuesday, October 13.20092:24     PM
 Subject:


Mr. Springer:
              RE: QV4C-ltinerary Only For SPRINGER LINDSEY KENT 10/15/09




We tried both your home telephone number (which was busy) and the cell
                                                                                 £'11,            5
phone number (479) 420-9246 (which did not work). The United States'
responsibility is to make travel arrangements that allow you to attend
the deposition. We have done so.

As noticed in the United States filing last week the deposition will
commence at 9:00 a.m. Friday, October 16, at Ms. Wiggins' home, which is
approximately forty minutes from the airport and hotel. Ms. Wiggins'
address, which was previously provided to Mr. Robert Burton, is 1052
East 131st Street, Los Angeles, California The United States has also
arranged for Mr. Robert Burton to be reimbursed for a rental car to be
used to transport you, Mr. Stilley and Mr. Williams (if he attends) to
the deposition and back to the airport. Your flight on Friday leaves at
4:45 p.m., allowing at least six hours for the deposition.

The United States is not in a position to adjust your travel
arrangements. If you wish to adjust your travel for whatever reason,
that is your responsibility, not that ofthe United States.

Sincerely,

Charles A. O'Reilly
Special Assistant U.S. Attorney
Northern District of California


-----Original Message-----
From: Derrington, David (USAOKN)
Sent: Tuesday, October 13,2009 11:32 AM
To: Lindsey Springer
Cc: O'Reilly, Charles A. (TAX); Snoke, Ken (USAOKN)
Subject: RE: OV4C-Itinerary Only For SPRINGER LINDSEY KENT 10/15/09

Hi Lindsey,

I'm sorry but I have everything scheduled for airfare and hotel stay. If
you have any questions, please let us know.

David H. Derrington
                                                                                                     10/14/2009
 Case 4:09-cr-00043-SPF Document 196-1 Filed in USDC ND/OK on 10/14/09 Page 5 of 8
 Lindsey Springer                                                                      -:ti~
 From:       "O'Reilly, Charles A (TAX)" <CharlesAO'Reilly@usdoj.gov>
 To:         "Lindsey Springer" <Iindsey@mindspring.com>;       <Iaw@trsvlaw.com>
 Cc:         "Snoke, Ken (USAOKN)" <Ken.Snoke@usdoj.gov>;           "Derrington, David (USAOKN)"
             <David.Derrington@usdoj.gov>;      "Hall, Kathie (USAOKN)" <Kathie.Hall@usdoj.gov>;   "Oscar
             Stilley" <oscar@oscarstilley.com>;   <RobtBurton@aol.com>
 Sent:       Tuesday, October 13,20093:09 PM


                                                                                                    ~
 Subject:
Mr. Springer:RE: OV4C-ltinerary Only For SPRINGER LINDSEY KENT 10/15/09.-:
                                                                      ~    ~" 1._

Per our telephone conversation earlier this afternoon, I have confirmed
that Mr. Derrington can make adjustments to your travel schedule as late
as 2:00 p.m. (Los Angeles time). Therefore, consistent with our
telephonic discussion, we will leave the travel arrangements as they
are. If it is determined that the deposition will extend past 2:00
p.m., you will contact Mr. Derrington prior to that time. Mr.
Derrington will then adjust the travel arrangements accordingly. This
includes, if necessary, one additional night's stay at the hotel and a
Saturday morning airline flight for your return to Tulsa, Oklahoma.

This being said, the cross-examination of Ms. Wiggins should not exceed
the amount of time spent on her direct examination.

Sincerely,

Charles A. O'Reilly
Special Assistant U.S. Attorney
Northern District of California

-----Original Message-----
From: O'Reilly, Charles A. (TAX)
Sent: Tuesday, October 13,20093:25 PM
To: Lindsey Springer; Robert Scott Williams (law@trsvlaw&9m)
Cc: Snoke, Ken (USAOKN); Derrington, David (USAOKN); Hall, Kathie
(USAOKN)
Subject: RE: OV4C-Itinerary Only For SPRINGER LINDSEY KENT 10/15/09

Mr. Springer:

We tried both your home telephone number (which was busy) and the cell
phone number (479) 420-9246 (which did not work). The United States'
responsibility is to make travel arrangements that allow you to attend
the deposition. We have done so.

As noticed in the United States filing last week the deposition will
commence at 9:00 am. Friday, October 16, at Ms. Wiggins' home, which is
approximately forty minutes from the airport and hotel. Ms. Wiggins'
address, which was previously provided to Mr. Robert Burton, is 1052
East 131st Street, Los Angeles, California. The United States has also
                                                                                                    10/1412009
.l.~.    '-'   .• --.-"-'   J-~.a._""-J       -~~J    - ~-   .--

        Case 4:09-cr-00043-SPF Document 196-1 Filed in USDC ND/OK on 10/14/09 Page 6 of 8

                                           EXhKElT
RE: OV4C-ltinerary Only For SPRINGER LINDSEY                                                                                               t:l
10/15/09
  From:
  To:
                                          lindsey@mindspring.com
                                          "O'Reilly,Charles        A. (TAX)"
                                                                                                                 rtl\.tt1
  Subject:
  Date:
                                          RE: OV4C-ltinerary Only For SPRINGER LINDSEY KENT 10/15/09
                                          Oct 13, 2009 5:28 PM                                                               , of 1.
Dear Mr. O'Rielly                               and Snoke            - I will     not agree with        your    2:00 p.m. proposal.
First,              you are the ones who are asking                                 me to take       important     pre-trial       time to take
this deposition.                              I am having              to go double       overtime    prior     to the 14th including
getting                 ready             for a deposition                I was not needed        to take until      after     the 26th.
You are asking                             me to stop Thursday                  at noon    and take     the chance    of having          to worry
about            return             on Friday            while         staying    focused    at a trial        deposition    of Ms.
Wiggins.   I agreed                                  to do the depo on Friday for one because you said you could
not do it next week                                  as Mr. Snoke said "that is too close to trial."


Though              that is not my problem                              I have accomidated         you and now learn         you are trying
to save $100 "taxpayer's                                      money"       in an additional        hotel    room for Friday         night    which
the Oklahoma                        "taxpayers"               should       have thought      about    before     they decided       to take a
deposition                     on Friday              Morning         in California         (everyone    who has ever traveled             this
route            knows            the time issue                    is more     than difficult).         As I said earlier          Apprx.    9:00
A.M.to              1:00 P.M. is not enough                              time under       the circumstances        you painted       to obtain
this Rule                    15 deposition.                        You said Mr. Snoke        intends     on asking    questions          for about
2 hours.                     You also suggest                       I am not allowed        to cross     examine    more    than that amount
of time.


I do not agree with                                  your position             on time as you have         the testimony      of Ms. Wiggins
from her Grand                             Jury testimony               and the questions         you ask her on Friday            for me to
cross           examine.                     On top of all that you also have Mr. Stilley                           who would       apparently
have           some say on questions                                he might     ask that could       affect     his interest       in this
case.              Then           you have            the possibility             of conjestive       heart     failure    might    give    rise
to Ms. Wiggins                             needing       period         breaks    and heaven      only knows when         those will be or
for how long.                                Your     scheduled          time    is quite    frankly     unacceptable.


I am not willing                              to be at the mercy                 and last minute        of someone    2 hours       behind
California                     time,          on a Friday             afternoon,     controlling        my next two to three             days that
I do not know and that does not care about my well being                                                        (in your office).           If any
indication                     can be drawn                  from past performance            and this      scheduling      issue    I
certainly                    believe            the person            you assigned        would   be less than assertive            in
any "last minute" changes.   I request you schedule my flight out on Saturday
Afternoon  (around 4:00 P.M. is fine) or the last flight out that returns me to
Tulsa Saturday and if I cannot                                           get that from you then I will Petition                    the Court
for the same relief Tomorrow.                                            You can tell the Judge you are arguing                    over $100.00

http://webmai1.earthlink.netJwamJprintable.jsp?msgid=212&x=.416836368                                                                     10/14/2009
RE: OV4C-ltinerary Only for :SPKlNUbK Lll'llU~n I 1'\.Ll~.l IVI CHV7                                         ~ -0- - ~- ~
  Case 4:09-cr-00043-SPF Document 196-1 Filed in USDC ND/OK on 10/14/09 Page 7 of 8


room     (Friday Night)       vs. Springer's        6th Amendment          Right    to thoroughly      examine       MS.
Wiggins     one time since you apparently                 have had unfettered          access     to her for

years.                                                                                                 :a .,f ~
If it can be changed           then     it needs    changing       now.      You say it can be changed               by
2:00 P.M. on Friday           then lets change           it now.


As to your       suggestion     that     "1 have been manipulating             the system       for two decades
and you are not going           to allow me to do it here"                  therein    lies the reason       why we
have    Judges.      I do not know why you are choosing                    to battle    me on this issue but as
my defacto        "travel    agent"     either    I must    have you direct          David     (or whoever)to
change    my flight      or I will       get the Court       involved.


By the way,       one of the stand by attorneys               is scheduled          to go out on Thursday            and
return     on Sunday.        So much     for your manipulation             thoery!


If the Court        orders    me to pay for Friday           Night    stay     ($ 100) then       I guess   1 will
have to pay that.            The Court       ordered     you to pay the expenses             for your Rule      15
deposition.         It is my conclusion           this    includes    reasonable       expenses.       It is my
opinion     it is unreasonable           for you to have me scheduled                out on Friday      at 4:00 P.M.
to avoid     a   $ 100.00 room Friday night.

Setting     the second       night    expense     aside,    I think       the Court    would    like to know why
you will not allow me to change                  the flight       to a reasonable       time on Saturday.
Please    include     that in your          explanation     of denying       me this change       so I can include
it in my prospective           motion.


I will    file my emergency           motion     in the morning       if I have not heard           from someone
that either       I can change        my flight     out on my own or has communicated                  with me
directly     regarding       changing       to a Saturday     afternoon       flight    out.


Lindsey     Springer     10.13.09




-----Original       Message-----
>From:    "O'Reilly,        Charles    A.    (TAX)" <Charles.A.O'Reilly@usdoj.gov>
>Sent:    Oct 13, 2009 3:09 PM
>To: Lindsey       Springer     <lindsey@mindspring.com>,                 law@trsvlaw.com
>Cc:    "Snoke,    Ken   (USAOKN)"      <Ken.Snoke@usdoj          .gov>,    "Derrington,       David   (USAOKN) ,.
<David. Derrington@usdoj         .gov>,       "Hall,     Kathie    (USAOKN)"       <Kathie. Hall@usdoj .gov>,
Oscar    Stilley    <oscar@oscarstilley.com>,               RobtBurton@aol.com


http://webmaiLearth1ink.net/wam/printable.jsp?msgid=212&x=-416836368                                         10/14/2009
                                                                                                         ..1."5"'   ..•. V..L   •

  Case 4:09-cr-00043-SPF Document 196-1 Filed in USDC ND/OK on 10/14/09 Page 8 of 8

                                                                                                    -rf-
 Lindsey Sprin9.!!_r""---                                                                                           _

 From:       "O'Reilly. Charles A. (TAX)" <CharlesAO'Reilly@usdoj.gov>
 To:         "Lindsey Springer" <lindsey@mindspring.com>;       <Iaw@trsvlaw.com>
 Cc:         "Snoke, Ken (USAOKN)" <Ken.Snoke@usdoj.gov>;           "Derrington, David (USAOKN)"
             <David. Derrington@usdoj.gov>;     "Hall, Kathie (USAOKN)" <Kathie. Hall@usdoj.gov>;    "Oscar
             Stilley" <oscar@oscarstilley.com>;   <RobtBurton@aol.com>
 Sent:       Tuesday, October 13, 20095:11 PM
 Subject:    RE: OV4C-ltinerary Only For SPRINGER LINDSEY KENT 10/15/09

Mr. Springer:                                                                     e,I,               ~

In our last telephone call, you requested that the United States change
your flight to Saturday morning. This request came despite our previous
conversation (see email below) in which you agreed that so long as the
travel arrangements could be adjusted if needed, no change needed to be
made at this time. As an alternative to the United States agreeing to
change your travel arrangements, you requested that the United States
give you complete control over your travel arrangements.

That is not possible, nor have you articulated a reasoned basis for
being treated differently than the other participants in this matter.
The United States representatives are flying out Thursday and returning
Friday, as are Mr. Stilley and Mr. Williams (if he attends). Mr. Burton
requested a different schedule prior to the United States setting up the
travel arrangements and was accomodated.

As I stated repeatedly on the telephone, the purpose of this travel is
for the taking of the Rule 15 deposition: nothing more. Your request
to be treated differently is unwarranted. Should the deposition extend
later than 2:00 p.m., you can and should contact Mr. Derrington who will
make any changes necessary to the travel arrangements. There should be
no need for the deposition to last past noon, however. AUSA Snoke
anticipates his direct examination in the deposition will last less then
one hour. Even if your cross-examination lasts twice as long, that is
only three hours.

If you perceive that these arrangements are unreasonable, you are free
to petition the Court as you indicated was your intention.

Sincerely,

Charles A. O'Reilly
Special Assistant U.S. Attorney
Northern District of Oklahoma

-----Original Message-----
From: O'Reilly, Charles A. (TAX)
Sent: Tuesday, October 13, 2009 4:10 PM
To: 'Lindsey Springer'; 'Robert Scott Williams (law@1rsvlaw.gom)'
Cc: Snoke, Ken (USAOKN); Derrington, David (USAOKN); 'Hall, Kathie
                                                                                                         10/14/2009
